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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION

GABRIELLE FIGUEROA and DAISY                      )
FRANKLIN, on behalf of                           )
Themselves and others similarly situated,        )
                                                 )
    Plaintiff,                                   )
                                                  )   Case No.: 3:17-CV-5909
-vs-                                             )
                                                 )    JURY TRIAL DEMANDED
EVERALBUM, INC., a Delaware                      )
corporation,                                     )
                                                 )
(Serve: Registered Agent                         )
   National Registered Agents, Inc.              )
   160 Greentree Drive, Suite 101                )
   Dover, DE 19904)                              )
                                                 )
    Defendant.                                   )


                                 CLASS ACTION COMPLAINT

    Comes now Plaintiffs Gabrielle Figueroa and Daisy Franklin, individually and on behalf of

others similarly situated, by and through counsel, and pursuant to Rule 15(a)(1)(B) of the Federal

Rules of Civil Procedure file this Class Action Complaint. For their cause of action against

Defendant, Plaintiffs state as follows:

                                          INTRODUCTION

    1. This is a Telephone Consumer Protection Act case, 47 U.S.C. §227 et seq., against

       Everalbum, Inc. which seeks to secure redress for improper telemarketing to Plaintiffs’

       cell phones, including text messages.

    2. Plaintiffs seek damages for themselves and a class and an order enjoining future illegal

       telemarketing activity.




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                                  VENUE AND JURSIDICTION

    3. This Court has jurisdiction under 28 U.S.C. §§1331 and 1337.

    4. Venue and personal jurisdiction in this District are proper because Defendant is

       headquartered in this District, conducted business in this District, and a substantial portion

       of the events that led to this cause occurred within this district.

                                                PARTIES

    5. Plaintiff Gabrielle Figueroa is a natural person who is a citizen and resident of the State of

       New Jersey.

    6. Plaintiff Daisy Franklin is a natural person who is a citizen and resident of the State of

       Missouri.

    7. Defendant Everalbum, Inc. is a corporation organized and existing under the laws of the

       State of Delaware, registered in the State of California, with its corporate headquarters

       located in San Francisco, California.

                    THE TELEPHONE CONSUMER PROTECTION ACT

    8. Congress enacted the Telephone Consumer Protection Act, 47 U.S.C. § 227 et. seq.

       (“TCPA”) in response to a growing number of consumer complaints regarding certain

       telemarketing practices.

    9. Consistent with its purpose, the TCPA regulates, among other things, the use of text of

       “SMS” messaging. The TCPA was designed to prevent calls like the ones described

       within this Complaint and to protect the privacy of citizens.

    10. “Voluminous consumer complaints about abuses of telephone technology…prompted

       Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).




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    11. Congress found that, except in “emergency situations” or where the receiving party

       consents to such calls, “banning…automated or prerecorded telephone calls…is the only

       effective means of protecting telephone consumers from this nuisance and privacy

       invasion.” Id. At §12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012

       WL 3292838at*4 (N.D. Ill. Aug. 10, 2012)(citing Congressional findings on TCPA’s

       purpose); Lardner v. Diversified Consultants, Inc., 17 F.Supp.3d 1215 (S.D. Fla. 2014).

    12. Specifically, Congress found that “the evidence presented to Congress indicates that

       automated or prerecorded calls are a nuisance and an invasion of privacy, regardless of the

       type of call…” Id. at §§12-13. See also, Mims, 132 S. Ct. at 744.

    13. Relevant to the present case, the FFC issued a declaratory opinion in July of 2015

       confirming, among other things, that (1)simply being on an acquaintance’s contact list

       does not amount to consent to robocalls from third-party applications downloaded by the

       acquaintance; (2)internet-to-phone text messages require consumer consent; and (3) text

       messages are “calls” subject to the TCPA, reaffirming a previous declaratory opinion.

       Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30 F.C.C. Red

       7961(2015) para. 2.

    14. Additionally, the FCC issued a declaratory order in 2003 that clarified that messages that

       serve a “dual purpose,” i.e. both informational and marketing, are considered

       telemarketing messages for the purposes of the TCPA. Rules & Regulations Implementing

       the Tel. Consumer Prot. Act of 1991, 18 F.C.C. Red 14415(2003).

    15. Internet-to-phone text messaging is functionally equivalent to phone-to-phone text

       messaging, which the FCC has already confirmed falls within the TCPA’s protection.

       And the potential harm is identical to consumers; unwanted text messages pose the same



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       cost and annoyance to consumers, regardless of whether they originate from a phone or

       the Internet. Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30

       F.C.C. Red 7961(2015).

                                                FACTS

    16. Defendant, Everalbum, Inc., was founded in 2013 and incorporated in the State of

       Delaware on or around October 25th, 2013 and later registered in the State of California on

       or around July 31st, 2014.

    17. Everalbum, Inc. was co-founded by, including but not limited to, Josh Miller, Jack

       Abraham, Andrew Dudum, Don Holly, Charlie Melbye, and Jon Mumm.

    18. The Everalbum, Inc. co-founders have an extensive knowledge and background in the

       technology industry.

    19. Defendant offers consumers the ability to free up space on their Apple or Android devices

       by uploading their photos and videos to its cloud storage service and allows users to edit

       and share their photos and videos through its application called “Everalbum” or “Ever”.

    20. Defendant has created several modifications to its application since its inception.

    21. Defendant promotes its product, the application, by internet advertising and other media,

        including the use of text messages.

    22. Wireless spam, or text message advertising, is a continuing problem that is growing in the

       United States, and often comes in the format of unwanted text messages directed to a

       user’s cell phones, including coupons and advertisements. According to at least one

       source, “57% of adults with cell phones have received unwanted or spam text messages on

       their phone.” (Amanda Lenhart, Cell Phones and American Adults: They Make Just as

       Many Calls, but Text Less than Teens, Few Research Center (2010), see



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       http://pewinternet.orgReports/2010/Cell-Phones-and-American-Adults.aspx.

    23. In an effort to promote the download and purchase of its product, Defendant caused to be

       transmitted to Plaintiffs and other consumers unauthorized text messages advertising the

       Defendant’s goods.

    24. Transmission of such text messages by Defendant is effectuated by broadcasting such

       messages to a large group of consumers through means of a Short Message Service, or

       “SMS” or similar device that alerts the recipient that a message has been received,

       typically by causing the recipients phone to ring or activate thereby alerting the consumer

       that a message or call has been received.

    25. The unauthorized text messages appear to be an acquaintance of the consumer trying to

       share pictures with the consumer and contains a link to download Defendant’s application

       to view said pictures.

    26. It is in the downloading process that Defendant obtains access to the consumer’s contact

       list.

    27. In prior versions, Defendant used the consumer’s contact list to send out the unauthorized

       text messages without the consumer’s knowledge or consent.

    28. In later versions, the Defendant enticed the consumers in its downloading process to

       permit Defendant to send invitations to the consumers’ contacts by offering free enhanced

       services on its application, including but not limited to 1000GB of photo storage.

    29. However, at all times relevant herein, the language of the text was created and/or modified

       by Defendant.

    30. At all times relevant herein, the platform used to send the texts were owned and/or

       controlled by the Defendant and at no time did Defendant warn the consumers that their



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            actions violated the TCPA.

     31. At best, the downloading process is intentionally misleading and confusing and does not

            fully inform the consumer of the actions or intent of Defendants to use the consumer’s

            contact list to promote its application via the unauthorized text messages at issue in this

            case.

     32. As of September 9th, 2016 (according to GooglePlay) the Everalbum application had been

            installed in excess of 1,000,000 times and flagged as inappropriate due to numerous

            consumer complaints concerning receipt of unauthorized text messages.

     33. In the latter part of 2016, the Apple Itunes App Store removed the Defendant’s app from
                                                                                                1
            its store after receiving thousands of complaints from users.

     34. It was only after Apple took such action that Defendant modified its application to remove

            the spam text feature. However, by that time, Defendant had sent hundreds of thousands,

            if not millions, of spam text messages through unsuspecting users of its app in violation of

            the TCPA which permitted it to quickly expand its business.

                                                               Principal – Agent Relationship

     35. At all times relevant herein, Defendant utilized consumers who downloaded its application

            as its agents for purposes of sending unauthorized text messages in violation of the TCPA.

     36. Defendant Everalbum, Inc. has complete control over the content of the text message,

            whether a text message will be sent, and the manner in which a text message will be sent.

     37. In several cases, users have specifically selected to not invite their contacts or share their

            contact information with Defendant, and, yet, Defendant caused a message to be sent.


                                                            
1
   See https://techcrunch.com/2016/11/01/photo‐app‐ever‐removed‐its‐spammy‐sms‐feature‐after‐apple‐banned‐
it/.   
 

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    38. Defendant Everalbum, Inc. has revised its application on several occasions and in prior

       occasions did not provide users with the selection process and invitation process it now

       currently offers.

    39. In an effort to insulate itself from liability under the TCPA, Defendant changed its

       application to make it appear as if the application users themselves were the senders or

       makers of the text messages.

    40. Defendant did so by offering valuable incentives to app users in exchange for agreeing to

       be utilized as Defendant’s agents for purposes of sending invitation text messages to

       cellular numbers on the app users’ contact lists for which neither Defendant nor the app

       user had permission.

    41. However, the Defendant offers the platform service and has knowingly allowed its’

       application users to use the platform in a manner which violates the TCPA.

    42. In addition, Everalbum, Inc. continues to be solely responsible for utilizing its platform to

       send out its marketing texts, directs what the text will say and when and/or if it is sent,

       controls the finances of the project, encourages the advertisement, encourages application

       users to participate, and determines the phone number(s) from which is appears the text(s)

       are sent.

    43. Application users are unaware that they are being used as pawns by Defendant in an

       attempt by Defendant to insulate itself from TCPA violations.

    44. Defendant’s violations were willful, or in the alternative, such actions were knowing.

                                    Plaintiff Gabrielle Figueroa

    45. Plaintiff Gabrielle Figueroa received an advertising text message on October 27th, 2016 at

       11:02 a.m. on her cellular telephone that stated the following:



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       “Kathie Rose just recommended you check out your photos on Ever. Link expires

       tomorrow: Tap to Load Preview” (Exhibit A)

    46. At no time did Plaintiff Gabrielle Figueroa provide consent to Defendant or Defendant’s

       agent, Kathie Rose, to receive Defendant’s marketing text message.

    47. Plaintiff Figueroa clicked on the link sent via text message, as she believed that the text

       message had come from her friend and/or her friend’s wedding photographer.

    48. Upon following the link, Plaintiff Figueroa quickly discovered that her friend and/or her

       friend’s wedding photographer did not intend to share pictures with her.

    49. Upon information and belief, Kathie Rose received a similar text, clicked the link, and

       completed the download to view the pictures she believed came from a friend of hers,

       Everalbum sent the above text message to Ms. Rose’s contacts whom are preselected and

       chosen randomly by Everalbum and which included Plaintiff Figueroa.

    50. Once the link was followed, the “Onboarding” process allowed Defendant to obtain access

       to all of Ms. Rose’s contacts and to send text messages to any and all such contacts

       without the permission or consent of the recipient.

    51. At no time did Plaintiff Figueroa consent to receive such text message from Defendant or

       Defendant’s agent.

    52. The Defendant sent, or caused to be sent via its agent, a text message to Plaintiff Figueroa

       from a telephone number not owned by Ms. Rose (617-936-7874).

    53. Said text message was an advertisement because it was material advertising the

       commercial availability or quality of any property, goods, or services, i.e. the Everalbum

       application. 47 C.F.R. §64.1200(f)(1).

    54. The text message was a telemarketing call because it was a call or message for the purpose



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       of encouraging the purchase or rental of or investment in property, goods, or services, i.e.

       the Everalbum application, which is transmitted to any person. 47 C.F.R. §64.1200(f)(12).

    55. The text message, described above, was unsolicited and unexpected by Plaintiff. Plaintiff,

       prior to the receipt of the text message, had not provided any consent to receive the

       autodialed text message to her mobile phone.

    56. Through this conduct, Defendant (1) initiated, or caused to be initiated, a call, as construed

       by the TCPA, to Plaintiff’s cellular telephone regarding an unsolicited service via an

       “automatic telephone dialing system” (“ATDS”) as defined by 47 U.S.C. § 227 (a)(1) and

       prohibited by 47 U.S.C. §227(b)(1)(A) and (2).

    57. The text message that Defendant initiated, or caused to be initiated, to Plaintiff’s cellular

       telephone includes or introduces an advertisement or constitutes telemarketing, using an

       automatic telephone dialing system and made without the prior express written consent of

       the called party. 47 CFR §64.1200(a)(2).

    58. The text message delivered to Plaintiff was sent via an automatic telephone dialing system

       as the term is defined by the TCPA and interpreted by the FCC.

    59. The equipment employed by Defendant to send the text message was an automatic

       telephone dialing system (ATDS) in that the equipment used has the capacity to store or

       produce telephone numbers to be called using a random or sequential number generator

       and to dial such numbers. 47 C.F.R. §64.1200(f)(2).

    60. The unsolicited text message constituted an invasion of privacy as has been recognized by

       courts throughout the United States. See, e.g., Palm Beach Golf Center-Boca v. John G.

       Sarris, D.D.S., P.A.,781 F.3d 1245 (11th Cir.2015).

    61. The text message also constituted a concrete harm in that it drained and depleted



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       Plaintiff’s cell phone battery life, a harm recognized by courts throughout the United

       States. See, e.g., Mey v. Got Warranty, 2016 U.S. Dist. LEXIS 84972 (N.D. W.V. June 30,

       2016)(“In addition, all ATDS calls deplete a cell phone’s battery, and the cost of

       electricity to recharge the phone is also a tangible harm. While certainly small, the cost is

       real, and the cumulative effect could be consequential.”)

    62. The text message was not for emergency purposes as defined by 47 U.S.C.

       §227(b)(1)(A)(i), and for which Defendant did not receive prior, express consent, pursuant

       to 47 U.S.C.§227(b)(1)(A).

    63. The text message constituted a telemarketing and/or advertising call for which Defendant

       was required to, but did not, obtain prior, written, express consent as a condition precedent

       to initiating the text message. As a result, Defendant, directly or through its agents as

       described above, violated 47 U.S.C. §227(b)(1) and (2) and 47 C.F.R. §64.1200(a)(2).

                                      Plaintiff Daisy Franklin

    64. Plaintiff Daisy Franklin received an advertising text message on October 22nd, 2016 at

       6:18 p.m. on her cellular telephone that stated the following:

       “Dana Kirksey just recommended you check out your photos on Ever. Click here: Tap to

       Load Preview” (Exhibit B)

    65. At no time did Plaintiff Daisy Franklin provide consent to Defendant or Defendant’s

       agent, Dana Kirksey, to receive Defendant’s marketing text message.

    66. Plaintiff Franklin clicked on the link sent via text message, as she believed that the text

       message had come from her friend.

    67. Upon following the link, Plaintiff Franklin quickly discovered that her friend did not

       intend to share pictures with her. Plaintiff Franklin contacted Dana Kirksey who



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       confirmed that she had not intended to send Plaintiff Franklin a link.

    68. Upon information and belief, Dana Kirksey received a similar text, clicked the link, and

       completed the download to view the pictures she believed came from a friend of hers,

       Everalbum sent the above text message to Ms. Kirksey’s contacts whom are preselected

       and chosen randomly by Everalbum and which included Plaintiff Franklin.

    69. Once the link was followed, the “Onboarding” process allowed Defendant to obtain access

       to all of Ms. Kirksey’s contacts and to send text messages to any and all such contacts

       without the permission or consent of the recipient.

    70. At no time did Plaintiff Franklin consent to receive such text message from Defendant or

       Defendant’s agent.

    71. The Defendant sent, or caused to be sent via its agent, a text message to Plaintiff Franklin

       from a telephone number not owned by Ms. Kirksey(314-325-0993).

    72. Plaintiff Daisy Franklin received an additional advertising text message on October 23rd ,

       2016 at 9:05 p.m. on her cellular telephone that stated the following:

       “Elatris Van Hook just recommended you check out your photos on Ever. Link expires

       tomorrow: Tap to Load Preview” (Exhibit B)

    73. At no time did Plaintiff Daisy Franklin provide consent to Defendant or Defendant’s

       agent, Elatris Van Hook, to receive Defendant’s marketing text message.

    74. Plaintiff Franklin clicked on the link sent via text message, as she believed that the text

       message had come from her friend.

    75. Upon following the link, Plaintiff Franklin quickly discovered that her friend did not

       intend to share pictures with her. Plaintiff Franklin contacted Elatris Van Hook who

       confirmed that he had not intended to send Plaintiff Franklin a link.



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    76. Upon information and belief, Elatris Van Hook received a similar text, clicked the link,

       and completed the download to view the pictures he believed came from a friend of his,

       Everalbum sent the above text message to Mr. Van Hook’s contacts whom are preselected

       and chosen randomly by Everalbum and which included Plaintiff Franklin.

    77. Once the link was followed, the “Onboarding” process allowed Defendant to obtain access

       to all of Mr. Van Hook’s contacts and to send text messages to any and all such contacts

       without the permission or consent of the recipient.

    78. At no time did Plaintiff Franklin consent to receive such text message from Defendant or

       Defendant’s agent.

    79. The Defendant sent, or caused to be sent via its agent, a text message to Plaintiff Franklin

       from a telephone number not owned by Mr. Van Hook (314-325-0993).

    80. Said text messages were an advertisement because it was material advertising the

       commercial availability or quality of any property, goods, or services, i.e. the Everalbum

       application. 47 C.F.R. §64.1200(f)(1).

    81. The text messages were a telemarketing call because it was a call or message for the

       purpose of encouraging the purchase or rental of or investment in property, goods, or

       services, i.e. the Everalbum application, which is transmitted to any person. 47 C.F.R.

       §64.1200(f)(12).

    82. The text messages, described above, were unsolicited and unexpected by Plaintiff.

       Plaintiff, prior to the receipt of the text messages, had not provided any consent to receive

       the autodialed text messages to her mobile phone.

    83. Through this conduct, Defendant (1) initiated, or caused to be initiated, a call, as construed

       by the TCPA, to Plaintiff’s cellular telephone regarding an unsolicited service via an



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       “automatic telephone dialing system” (“ATDS”) as defined by 47 U.S.C. § 227 (a)(1) and

       prohibited by 47 U.S.C. §227(b)(1)(A) and (2).

    84. The text messages that Defendant initiated, or caused to be initiated, to Plaintiff’s cellular

       telephone includes or introduces an advertisement or constitutes telemarketing, using an

       automatic telephone dialing system and made without the prior express written consent of

       the called party. 47 CFR §64.1200(a)(2).

    85. The text messages delivered to Plaintiff was sent via an automatic telephone dialing

       system as the term is defined by the TCPA and interpreted by the FCC.

    86. The equipment employed by Defendant to send the text messages was an automatic

       telephone dialing system (ATDS) in that the equipment used has the capacity to store or

       produce telephone numbers to be called using a random or sequential number generator

       and to dial such numbers. 47 C.F.R. §64.1200(f)(2).

    87. The unsolicited text messages constituted an invasion of privacy as has been recognized

       by courts throughout the United States. See, e.g., Palm Beach Golf Center-Boca v. John G.

       Sarris, D.D.S., P.A.,781 F.3d 1245 (11th Cir.2015).

    88. The text messages also constituted a concrete harm in that it drained and depleted

       Plaintiff’s cell phone battery life, a harm recognized by courts throughout the United

       States. See, e.g., Mey v. Got Warranty, 2016 U.S. Dist. LEXIS 84972 (N.D. W.V. June 30,

       2016)(“In addition, all ATDS calls deplete a cell phone’s battery, and the cost of

       electricity to recharge the phone is also a tangible harm. While certainly small, the cost is

       real, and the cumulative effect could be consequential.”)

    89. The text messages were not for emergency purposes as defined by 47 U.S.C.

       §227(b)(1)(A)(i), and for which Defendant did not receive prior, express consent, pursuant



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       to 47 U.S.C.§227(b)(1)(A).

    90. The text messages constituted a telemarketing and/or advertising call for which Defendant

       was required to, but did not, obtain prior, written, express consent as a condition precedent

       to initiating the text message. As a result, Defendant, directly or through its agents as

       described above, violated 47 U.S.C. §227(b)(1) and (2) and 47 C.F.R. §64.1200(a)(2).

                                         CAUSE OF ACTION

                (Violation of 47 U.S.C. . § 227-Telephone Consumer Protection Act)

    91. Plaintiffs incorporate by reference the foregoing allegations as if fully set forth herein.

    92. Defendant made unsolicited commercial text calls, including the messages transcribed

       above, to the wireless telephone numbers of the Class. Each such text message call was

       made using equipment that had the capacity to store or produce telephone numbers using a

       random or sequential number generator, and to dial such numbers. By using such

       equipment, Defendant was able to effectively send text messages simultaneously to lists of

       thousands of wireless telephone numbers without human intervention.

    93. These text calls were made en masse and without the prior express consent of the

       Plaintiffs and the other members of the Class.

    94. Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of

       Defendant’s illegal conduct, the members of the class suffered actual damages by, inter

       alia, having to pay their respective wireless carriers for the text messages where applicable

       and, under section 227(b)(3)(B), are each entitled to, inter alia, a minimum of $500.00 in

       damages for each violation of such act.

    95. Because Defendant had knowledge that Plaintiffs and the Class did not consent to the

       receipt of the aforementioned wireless spam, the Court should, pursuant to section 47



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       U.S.C. § 227(b)(3)(C), treble the amount of statutory damages recoverable by the

       Plaintiffs and the other members of the Class.

                                      CLASS ALLEGATIONS

    96. Plaintiffs bring this claim on behalf of a class defined as follows:

            All persons within the United States who received one or more text message(s) from

        Everalbum, Inc. on or after April 26th, 2013.

    97. The class is so numerous that joinder of all members is impractical. Upon information

       and belief, Plaintiffs allege that there are more than one thousand (1,000) members of the

       class.

    98. There are questions of law and fact common to the class which predominate any questions

       affecting an individual class member. The predominate common questions include:

        a. Whether Defendant utilized and automatic dialing system as defined within the TCPA

            and applicable FCC regulations in order to send the text messages at issue; and

        b. The amount of damages, including whether Defendant’s violations were negligent,

            willful or knowing.

    99. Plaintiffs will fairly and adequately protect the interest of the class. Plaintiffs have

       retained counsel experienced in handling class actions and other complex civil litigation.

       Neither Plaintiffs nor Plaintiffs’ counsel have any interests which might cause them not to

       vigorously pursue this action.

    100. A class action is an appropriate method for the fair and efficient adjudication of this

       controversy. The interest of class members in individually controlling the prosecution of

       separate claims is small because it is not economically feasible to bring individual actions.

    101. Class action treatment is superior to the alternatives for fair and efficient adjudication of



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       the controversy alleged herein. Such treatment will permit a large number of similarly

       situated persons to prosecute their common claims in a single forum simultaneously and

       without duplication of effort and expense that numerous individual actions would entail.

    102. Defendant has acted on grounds generally applicable to the class, thereby making relief

       appropriate with respect to the class as a whole. Prosecution of separate actions by

       individual members of the class would likely create the risk of inconsistent or varying

       adjudications with respect to individual members of the class that would establish

       incompatible standards of conduct.

    WHEREFORE, Plaintiffs Gabrielle Figueroa and Daisy Franklin, on behalf of themselves and

the Class, prays for the following relief:

            A. An order certifying the Class as defined above;

            B. An award of actual and statutory damages;

            C. An injunction requiring Defendant to cease all wireless spam activities;

            D. An award of reasonable attorneys’ fees and costs; and

            E. Such further and other relief the Court deems reasonable and just.



                                             JURY DEMAND

        Plaintiffs demand trial by jury.

                                               Respectfully submitted,

                                               _/s/ Steve A. Miller____________________
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